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                      CASE NO. 3:18-cv-939 SI

      UNITED STATES DISTRICT COURT FOR
           THE DISTRICT OF OREGON
               In Re: Peter Szanto

                               Peter Szanto,

                           Plaintiff-Appellants\,

                                    vs.

JPMORGAN CHASE BANK, N.A.; JPMORGAN CHASE & CO.; BANK OF
    AMERICA, N.A.; and BANK OF AMERICA CORPORATION
                     Defendants-Appellees.


Answering Brief By Appellee Bank of America, N.A. to Debtor’s First
                          Opening Brief


On Appeal From United States Bankruptcy Court for the District of Oregon
                    Adv. Pro. No.: 16-03118 pcm
                  The Honorable Peter McKittrick

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                CORPORATE DISCLOSURE STATEMENT
       In accordance with Fed. R. Bankr. P. 8012(a), Appellee Bank of America,

N.A.   is   wholly   owned      by   BAC   North   America      Holding   Company

(“BACNAH”). BACNAH is a direct, wholly owned subsidiary of NB Holdings

Corporation (“NB Holdings”). NB Holdings is a direct, wholly owned subsidiary

of Bank of America Corporation. Bank of America Corporation is a publicly held

company whose shares are traded on the New York Stock Exchange and has no

parent corporation. Based on the U.S. Securities and Exchange Commission Rules

regarding beneficial ownership, Berkshire Hathaway Inc., 3555 Farnam Street,

Omaha, Nebraska 68131, beneficially owns greater than 10% of Bank of America

Corporation’s outstanding common stock.
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                            I.          INTRODUCTION

      This appeal is one of the many appeals filed by Appellant/Debtor Peter

Szanto (“Szanto”) regarding his adversary proceeding against Bank of America,

N.A. (“Bank of America”). Szanto originally alleged several claims against Bank

of America asserting that it reneged on its promise to modify his Home Equity

Line of Credit Agreement to reinstate interest-only payments. Bank of America

moved to dismiss Szanto’s claims and he was allowed leave to amend twice.

Finally, the only remaining claim was for breach of contract. Bank of America

filed an answer asserting the affirmative defense of statute of frauds.             After

discovery was exchanged, Bank of America filed a motion for summary judgment

asserting that Szanto’s claim for breach of contract was barred by the applicable

California statute of frauds.     Szanto opposed the motion.         The United States

Bankruptcy Court for the District of Oregon (“Bankruptcy Court”) granted the

motion for summary judgment and Szanto appealed.

                                II.      JURISDICTION

      After entry of judgment in favor of Bank of America [EOR 1, pp. 300-302],

Szanto appealed and elected to proceed before this Court. [EOR, p. 308]. This

Court has jurisdiction pursuant to 28 U.S.C. § 158(a).




1
 “EOR” refers to Bank of America’s Excerpts of Record submitted concurrently
with this brief.

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                 III.   STATEMENT OF ISSUE PRESENTED

      Whether the Bankruptcy Court erred in granting summary judgment in favor

of Bank of America, where Szanto’s claim for breach of contract was barred by the

statute of frauds?

                        IV.     STANDARD OF REVIEW

      When reviewing a decision of the bankruptcy court, a district court functions

as an appellate court and applies the standards of review generally applied in

federal courts of appeal. In re Crystal Properties, Ltd., 268 F.3d 743, 755 (9th Cir.

2001); In re Webb, 954 F.2d 1102, 1103–04 (5th Cir. 1992). A grant of summary

judgment is reviewed de novo, Boyajian v. New Falls Corp., 564 F.3d 1088, 1090

(9th Cir.2009), and may be affirmed on any ground supported by the record. ACLU

of Nevada v. City of Las Vegas, 333 F.3d 1092, 1097 (9th Cir. 2003). “The

appellate court must determine, viewing the evidence in the light most favorable to

the non-moving party, whether genuine issues of material fact exist and whether

the ... court correctly applied the relevant substantive law.” Bagdadi v. Nazar, 84

F.3d 1194, 1197 (9th Cir. 1996). Summary Judgment is appropriate for breach of

contract claims barred by the applicable statute of frauds. See e.g., Showcase

Realty, Inc. v. Whittaker, 559 F.2d 1165 (9th Cir. 1977); In re Cromer, 153 B.R.

391, 396 (Bankr. E.D.N.Y. 1993) (noting that “[i]n such circumstances, summary

judgment is ‘appropriate and frequently the only meaningful remedy’ when the



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claimed oral contract falls within the statute of frauds and no corroboration exists

equivalent to that furnished by a writing. Were it otherwise, a contracting party

would be exposed to the risk of being held to a nonexistent bargain on the basis of

self-interested and unreliable oral testimony.”) (internal citation omitted). Thus, it

has long been held as black-letter law that “Statute of Frauds is a complete defense

to an action by either party for damages for a breach of the contract, and an oral

contract, even though merely invalid or unenforceable under the Statute of Frauds,

and not void, will not sustain an action for damages for breach of contract if the

defendant asserts the statute as a defense.” 73 Am. Jur. 2d Statute of Frauds § 410

                      V.     STATEMENT OF THE CASE
      In April 2006, Szanto entered into a Home Equity Line of Credit

(“HELOC”) Agreement with Countrywide Home Loans, Inc. with regard to certain

real property located at 11 Shore Pine Drive, Newport Beach, California. (EOR, p.

185-196). The HELOC Agreement states, “[t]o secure the payment of all loans I

obtain and the performance of all promises I make in this Agreement, I and all co-

owners are giving you a Deed of Trust (the ‘Deed of Trust’) covering my dwelling

located at #11 Shore Pine Drive, Newport Beach, CA 92657 (the ‘Property’).

(EOR, p. 190). The Deed of Trust is security for my current and future obligations

under this Agreement.”      (EOR, p. 190).      Szanto received a loan under this

agreement that provided for interest-only payments for a period of time. (EOR, p.



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185-196).   There is no dispute that, sometime after 2006, Bank of America

succeeded to the rights of Countrywide with regard to this loan. (EOR, p. 282).

      Szanto alleges that under the terms of a modification, (or, as he has

sometimes alternatively referred to it, a “codicil,” “novation,” or “supplemental

agreement”), Bank of America purportedly promised in June of 2016 to extend or

“reinstate” the 5 year “interest-only” payment period under the HELOC

Agreement beyond its original expiration date of April 3, 2011. (EOR, p. 223).

Szanto did not attach to his pleadings a copy of any writing evidencing any

agreement on the part of Bank of America to modify or forebear the rate of interest

applicable to Plaintiff’s account pursuant to the terms of the original HELOC

Agreement. (EOR, pp. 87-115).

      In response to discovery directed to Szanto, he produced no writing

evidencing any such claimed agreement. (EOR, pp. 208-218). When asked to

identify “all documents that [Szanto contended] support the allegations contained

in [Szanto’s] First Cause of Action: Breaches of Contracts”, Szanto identified only

two pages—an account statement and related payment receipt indicating that in

July of 2016, Szanto paid $45,300.41 that was past due and owing pursuant to his

original HELOC Agreement, and a wire transfer receipt from August of 2016

purportedly showing a credit to his HELOC account in the amount of $703.65.

(EOR, pp. 208-218). Nowhere do any of these documents reference a modification



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or supplemental agreement regarding Szanto’s interest rate as alleged in his various

complaints.   (EOR, pp. 217-218).       The sole agreement in the record in this

adversary proceeding governing the relationship between Szanto and Bank of

America is the original April 2006, HELOC Agreement. (EOR, pp. 185-196).

      Szanto filed for protection pursuant to Chapter 11 of the United States

Bankruptcy Code on August 16, 2016 and commenced his adversary proceeding

against Bank of America on September 29, 2016. (EOR, p. 241) Szanto’s original

adversary complaint [EOR, p. 35-49] (“Complaint”) sought damages against Bank

of America via several theories including fraud, conspiracy, violation of federal

statutes, common law infliction of emotional distress, as well as the “Breaches of

Contracts” cause of action that is the subject of the present appeal.

      On November 28, 2016, Bank of America filed its initial 12(b)(6) motion to

dismiss the Complaint [EOR, pp. 52-63] (“1st MTD”). In support of its 1st MTD,

Bank of America attached a “Declaration of James P. Laurick” which provided a

true and correct copy of Bank of America’s sole contract with Szanto—a HELOC

agreement dated April 3, 2006 (the “HELOC Agreement”). (EOR, pp. 64-81)

Bank of America moved to dismiss all of the claims pled in the Complaint,

including Szanto’s breach of contract claim, against which Bank of America

raised, inter alia, a statute of frauds defense.      (EOR, pp. 52-63).     Bank of

America’s 1st MTD was not heard as Szanto was permitted an opportunity to



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amend his Complaint. (EOR, p. 6). On December 28, 2016, Szanto filed his First

Amended Complaint (“FAC”) [EOR, p. 6] in which he re-alleged the same basic

causes of action he had brought in his original Complaint, including but not limited

to his “First Cause of Action: Breaches of Contracts.” (EOR, pp. 82-85). Again,

Bank of America moved to dismiss all causes of action under Federal Rule of Civil

Procedure 12(b)(6). (EOR, p. 6).

      Szanto was given an additional opportunity to amend his FAC—which he

did on March 27, 2017 by filing the SAC [EOR, p. 82-85, 86-114] (“SAC”). Bank

of America responded by filing its third Motion to Dismiss on April 10, 2017.

(EOR, p. 9). The final result of the motions was that all of Szanto’s claims, except

for the First Cause of Action “Breaches of Contract,” were dismissed for failure to

state a claim. (EOR, pp. 115-136, 160-162).

      Bank of America filed its answer to Szanto’s sole remaining cause of action

on July 19, 2017 [EOR, pp. 163-176] denying Szanto’s allegations, and again

raising the defense of statute of frauds. The parties engaged in written discovery

and exchanged documents. (EOR, pp. 197-218).

      Bank of America originally filed its motion for summary judgment on

October 2, 2017. (EOR, p. 284). Szanto sought additional time to respond to the

motion for summary judgment, in part because Bank of America failed to file a

separate concise statement of facts as required by Local Bankruptcy Rule 7056-



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1(a)(1)(B). (EOR, p. 284). Because of the lack of a concise statement of facts, the

court struck the October 2 motion and granted Bank of America until October 23,

2017, to refile the motion. (EOR, p. 284).

      On October 23, 2017, Bank of America refiled its motion for summary

judgment and supporting documents, including a separately filed concise statement

of facts. (EOR, p. 284). However, because there was a technical issue with the

docketing of the documents, they were refiled on October 24, 2017, at the court

clerk’s request. (EOR, p. 284, 177-256). The docket indicates that the earlier

filings were “superseded.” (EOR, p. 284).

      Szanto responded on November 6, 2017.           (EOR, pp. 257-280).       The

Bankruptcy Court issued its memorandum opinion granting Bank of America’s

motion for summary judgment on April 30 2018. (EOR, p. 281-296). The Order

and Judgment were entered on May 14, 2018. (EOR, pp. 297-302). Szanto filed

his Notice of Appeal on May 22, 2018. (EOR, p. 303-307).

      The appeal was referred to this Court on May 25, 2018. (EOR, p. 308).

                      VI.   SUMMARY OF ARGUMENT

      The Bankruptcy Court did not err in granting Bank of America’s motion for

summary judgment on Szanto’s breach of contract claim. Szanto’s breach of

contract claim is barred by the statute of frauds. There is no dispute that Szanto’s

breach of contract claim is governed by the law of California. Under California’s



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statute of frauds, an agreement regarding an interest in real property must be in

writing. An agreement to modify an agreement that is subject to the statute of

frauds must also be in a writing which shows the essential terms of the agreement.

      Szanto alleged that he entered into a modification agreement with Bank of

America to reinstate interest-only payments on the HELOC. In support of this

assertion, Szanto produced two documents: (1) a statement from Bank of America

showing that his outstanding balance on the HELOC loan was $45,300 and a

receipt showing the payment of that amount; and (2) a receipt showing a wire

transfer in the amount of $703 for Szanto’s benefit from Bank of America. Szanto

argued that these two documents formed a writing that was sufficient under the

statute of frauds.   Szanto is incorrect because neither document mentions the

essential term that he seeks to enforce—return to interest only payments. For this

reason, his claim is barred by the statute of frauds.

      Szanto further claims that the statute of frauds is not applicable because he

has either partially performed or fully performed under the alleged modification

agreement. This is incorrect. In addition to part performance, the party seeking to

enforce must have changed his position to his detriment; however, the payment of

money is not a sufficient change of position under California law because the

plaintiff has legal recourse to obtain repayment of money.             Moreover, full

performance is only applicable where performance consisted of conveying



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property, rendering personal services, or doing something other than payment of

money

      Szanto further argues that California Civil Code Section 1624(b) allows for

the introduction of extrinsic evidence to establish that a contract was formed. That

Section, however, applies only to “qualified financial contracts” where both parties

are not natural persons and the contract refers to a limited class of agreements.

That Section is not applicable here. Szanto next asserts that California Civil Code

Section 1698(c) is applicable to remove the alleged agreement from the statute of

frauds. However, the payment of money already owed does not constitute new

consideration such that Section 1698(c) would apply.

      Szanto argues that the Bankruptcy Court improperly relied on the

declaration of Bank of America’s counsel in making its decision on summary

judgment. An attorney declaration is sufficient in regards to a motion for summary

judgment where it is restricted to the events of the litigation. Additionally, all

documents submitted in support of a motion for summary judgment must be

authenticated. The Declaration at issue simply authenticated various documents

exchanged in litigation or file in the adversary proceeding. There was nothing

improper in the Bankruptcy Court’s treatment of the Declaration.

      Finally, Szanto asserts that he can demonstrate a claim for promissory

estoppel. Szanto did not assert a claim for promissory estoppel in the Bankruptcy



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Court and he is unable to satisfy the necessary elements to do so. That being the

case, any such amendment would be futile.

                                 VII. ARGUMENT
        1.    Szanto’s Claim For Breach Of Contract Is Barred By The Statute
              Of Frauds. 2
        “[N]onbankruptcy law defines the nature, scope, and extent of the property

rights that come into the hands of the bankruptcy estate.” In re Transcon Lines, 58

F.3d 1432, 1438 (9th Cir. 1995), as amended on denial of reh'g (July 10, 1995).

There is no dispute that, under the applicable choice of law rules, Szanto’s claim

for breach of contract is governed by the laws of California. (AOB 3, p. 4).

        Under California’s statute of frauds, to be valid, a contract for changes to a

loan obligation secured by real property must be in writing and subscribed by the

party to be charged. Secrest v. Security National Mortgage Loan Trust 2002–2 167

Cal.App.4th 544, 552 (2008) (Secrest ). The Secrest Court held, “[a]n agreement

for the sale of real property or an interest in real property comes within the statute


2
  Szanto does not challenge the dismissal of his other claims in his AOB.
Therefore, any challenge to the dismissal of those other claims is waived.
Entertainment Research Group, Inc. v. Genesis Creative Group, Inc. 122 F.3d
1211, 1217 (9th Cir. 1997) (“We will not consider any claims that were not
actually argued in [Appellant’s] opening brief.”) Szanto does not assert that the
Bankruptcy Court’s denial of his offer of proof under Federal Rule of Civil
Procedure 56(d) was an abuse of discretion. See Langer v. Encantada II, 677 Fed.
Appx. 360 (9th Cir. 2017). Thus, this issue is also waived.


3
    “AOB” refers to Appellant’s Opening Brief.

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of frauds. (Civ.Code, § 1624, subd. (a)(3).) A mortgage or deed of trust also comes

within the statute of frauds. Civil Code section 2922 states: ‘A mortgage can be

created, renewed, or extended, only by writing, executed with the formalities

required in the case of a grant of real property.’” Id.

      The Secrest Court further held that “[a]n agreement to modify a contract that

is subject to the statute of frauds is also subject to the statute of frauds.” Id. citing

Ca. Civ. Code § 1698(a). The Court noted that “[a] modification of a contract is a

change in the obligations of a party by a subsequent mutual agreement of the

parties.” Id. Applying that rationale, the Secrest Court found that the forbearance

agreement in that case attempted to modify the note and deed of trust in the

following ways: (1) by substituting a new monthly payment for the one required

under the terms of the note; and (2) altering the lender’s ability to foreclose under

the terms of the note and deed of trust. Id. at 553. The Court noted that the deed

of trust provided that it secured a debt “evidenced by Borrower's note dated the

same date as this Security Instrument” including “all renewals, extensions and

modifications of the Note.” Id. The forbearance agreement “attempted to modify

the note and therefore serves as additional evidence of the debt secured by the deed

of trust. The January 2002 Forbearance Agreement was therefore subject to the

statute of frauds.” Id.




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      Similarly, in Rossberg v. Bank of America, N.A., 219 Cal.App.4th 1481,

1503 (2013), the Court held, “[a]n agreement for the sale of real property or an

interest in real property comes within the statute of frauds. That includes a

promissory note and a deed of trust securing performance under the note. An

agreement to modify a contract [including a loan modification] that is subject to

the statute of frauds is also subject to the statute of frauds.” (internal citations

omitted). In Rossberg, plaintiffs alleged that they entered into a loan modification

agreement with Bank of America that modified the terms of their promissory note

and deed of trust by changing the interest rate and principal balance, among other

things.     The Rossberg Court determined that “[t]he statute of frauds therefore

required the loan modification agreement to be in a writing and signed by BofA.

The Rossbergs, however, concede there is no written loan modification agreement

signed by BofA. They therefore failed to allege a cause of action for breach of the

purported loan modification agreement.” Rossberg, 219 Cal.App.4th at 1503.

      The HELOC Agreement, here, provides that it is secured by a deed of trust

on Szanto’s Property that serves as security for his current and future obligations.

(EOR, p. 185-196). Thus, it cannot be disputed that the HELOC Agreement was

subject to the statute of frauds.       Szanto asserted that he obtained a loan

modification altering his monthly payment under the terms of the HELOC

Agreement. In accordance with Secrest and Rossberg, the alleged modification is



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subject to the statute of frauds.    The writings identified by Appellant in his

discovery responses, however, do not satisfy the statute of frauds.

      “A memorandum satisfies the statute of frauds if it identifies the subject of

the parties’ agreement, shows that they made a contract, and states the essential

contract terms with reasonable certainty.” Sterling v. Taylor, 40 Cal.4th 757, 766

(2007). “The statute of frauds demands written evidence that reflects the parties’

mutual understanding of the essential terms of their agreement, when viewed in

light of the transaction at issue and the dispute before the court.” Id. at 775. “To

satisfy the ‘writing’ requirement of the statute of frauds, the writing may be

cobbled together from various documents, but must still identif[y] the subject of

the parties’ agreement, show[ ] that they made a contract, and state[ ] the essential

contract terms with reasonable certainty.” Smyth v. Berman, 31 Cal.App.5th 183,

197 (2019), review denied (Mar. 20, 2019) (internal quotation marks and citations

omitted; alteration in original). The agreement must “provide the essential terms,

and it is clear that extrinsic evidence cannot supply those required terms.” Jacobs

v. Locatelli, 8 Cal.App.5th 317, 325 (2017), as modified (Feb. 28, 2017) (internal

quotation marks omitted; emphasis in original). “Whether a writing is sufficient is

a question of law….” Westside Estate Agency, Inc. v. Randall, 6 Cal.App.5th 317,

330 (2016).




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      In his response to the Bank of America’s motion for summary judgment and

in his brief on appeal, Szanto identified two documents that he claims support his

argument that he reached an agreement with Bank of America to modify his loan.

The documents are a “statement on Bank of America letterhead showing plaintiff’s

minimum payment due of $45,300.41 along with a receipt for payment of that

amount on July 22, 2016 [EOR, p. 217], and a document, again on Bank of

America letterhead, showing an August 10, 2016, wire credit of $703.65 made

from Bank of America to The Yankee Trust Corporation for the benefit of Peter

Szanto. (EOR, p. 218). Neither document satisfies the statute of frauds, either

individually or reviewed together, because neither document contains any of the

essential terms of the alleged modification.

      Szanto further contends that his payment, of the amount past due on the

HELOC loan just prior to filing for bankruptcy, supports his contention that a

modification or novated contract was made. (AOB, p. 5). He states that “proffer

of proof is the business card of Bank of America’s Vice President Mayorga,

[Appendix 20] who would also be available to testify about her pivotal role in

facilitation of the parties’ novation.” (Id.) Szanto argues that his own declaration

provides further evidence of the establishment of the novated contract wherein he

avers: “1) the novation involved more than just payment of money, because it

included appellant foregoing all of his claims against Bank of America for all harm



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and injury which had been caused to him and his family regarding collection calls

(which included obscene threats of physical harm for failure to pay) and other

improper forms of harassment and terror of a mortgagor with a late balance, 2)

contention that Bank of America repeatedly asserted that a signed novated deed of

trust had been sent to appellant, 3) the full names of those specific bank officers

with whom appellant negotiated, so as to enter into the novated contract

requirements…” 4 (AOB, pp. 6-7).

      None of the evidence presented by Szanto is sufficient to satisfy the statute

of frauds. Neither the document showing payment of outstanding arrearages on the

HELOC loan nor Ms. Mayorga’s business card contain any essential terms of the

alleged modification, namely that Bank of America agreed to accept interest only

payments on the HELOC loan. (EOR, pp. 217-218) Neither document discusses

the payment structure of the HELOC loan going forward, any change to the

payment terms, or any change to the interest rate. The document simply shows

that Szanto paid the amount that was outstanding on the HELOC loan.

      Likewise, the second document showing a wire transfer in the amount of

$703 does not contain any essential terms of the alleged modification. Although


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   “Conclusory, speculative testimony in affidavits and moving papers is
insufficient to raise genuine issues of fact and defeat summary judgment.”
Pinnacle Armor, Inc. v. United States, No. 1:07-CV-01655 LJO, 2012 WL
5307666, at *11 (E.D. Cal. Oct. 26, 2012)(internal quotation marks omitted).


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both documents may be considered together to establish a writing under the statute

of frauds, even when doing so, the documents fail to meet the requirements of a

writing that satisfies the statute of fraud.

       Moreover, Szanto’s declaration may not be considered in determining

whether a writing existed to satisfy the statute of frauds. Extrinsic evidence cannot

prove the existence of the parties’ contract or supply its essential terms. Smyth, 31

Cal.App.5th at 198.       The essential terms must be contained in the writing;

however, that did not happen here. Therefore, the Bankruptcy Court did not err in

determining that Szanto’s breach of contract claim was barred by Bank of

America’s assertion of the statute of frauds defense.

       2.     Szanto’s Alleged Performance Is Not Sufficient To Take His
              Claim Out Of The Statute Of Frauds.
       The common law doctrine of part performance is an exception to the statute

of frauds “only as applied to contracts for the sale or lease of real property.” 1 Cal.

Real Est. § 1:76 (4th ed.); See also Sutton v. Warner, 12 Cal.App.4th 415, 422,

(1993). Part performance allows enforcement of a contract despite the lack of a

writing, where the party has taken actions either unequivocally referred to or

clearly related to the contract’s terms. Secrest, 167 Cal.App.4th at 555. In addition

to partial performance, “the party seeking to enforce the contract must have

changed position in reliance on the oral contract to such an extent that application

of the statute of frauds would result in an unjust or unconscionable loss, amounting


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in effect to fraud.” Id. “[U]nder well-established principles of California law,

payment of money alone is not enough as a matter of law to take an agreement out

of the statute of frauds, and the [plaintiffs] have legal means to recover the

[payment] if they are entitled to its return.” Id. at 548. Moreover, “[t]he principle

that full performance takes a contract out of the statute of frauds has been limited

to the situation where performance consisted of conveying property, rendering

personal services, or doing something other than payment of money.” Secrest, 167

Cal.App.4th at 556.

      Szanto argues in his brief that his performance of the alleged agreement

takes it out of the statute of frauds. (AOB, pp. 7-8). Szanto claims that he has

performed his part of the agreement by paying his “bill and arrearages,” and

promising to abandon his unfair debt collection practice claims against Bank of

America. (AOB, p. 8). The summary judgment evidence shows that Szanto made

a payment of the amount due and owing on the HELOC loan. The only evidence

Szanto proffered in support of his alleged promise to forego his unfair debt

collection practices claim is his uncorroborated declaration.        Thus, Szanto’s

assertion that he performed, either partially or fully, by paying money does not

take his claim out of the statute of frauds.

      3.     Szanto’s Interpretation Of California Civil Code Section 1624(b)
             Is Incorrect.




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      In his Opening Brief, Szanto argues that California Civil Code Section

1624(b) provides “alternate circumstances for enforcement of a contract.” (AOB,

p. 11). In support, he quotes select portions of the Code Section, but he fails to

recite the express limitations contained in that section which make it inapplicable

to the alleged agreement at issue.

      Section 1624(b)(1) provides, “[a]n agreement or contract that is valid in

other respects and is otherwise enforceable is not invalid for lack of a note,

memorandum, or other writing and is enforceable by way of action or defense,

provided that the agreement or contract is a qualified financial contract as defined

in paragraph (2).” (emphasis added). Paragraph 2 of Section 1624(b) states:

             2) For purposes of this subdivision, a “qualified financial
             contract” means an agreement as to which each party
             thereto is other than a natural person and that is any of
             the following:

             (A) For the purchase and sale of foreign exchange,
             foreign currency, bullion, coin, or precious metals on a
             forward, spot, next-day value or other basis.

             (B) A contract (other than a contract for the purchase of a
             commodity for future delivery on, or subject to the rules
             of, a contract market or board of trade) for the purchase,
             sale, or transfer of any commodity or any similar good,
             article, service, right, or interest that is presently or in the
             future becomes the subject of a dealing in the forward
             contract trade, or any product or byproduct thereof, with
             a maturity date more than two days after the date the
             contract is entered into.

             (C) For the purchase and sale of currency, or interbank
             deposits denominated in United States dollars.

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            (D) For a currency option, currency swap, or cross-
            currency rate swap.

            (E) For a commodity swap or a commodity option (other
            than an option contract traded on, or subject to the rules
            of, a contract market or board of trade).

            (F) For a rate swap, basis swap, forward rate transaction,
            or an interest rate option.

            (G) For a security-index swap or option, or a security or
            securities price swap or option.

            (I) An option with respect to any of the foregoing.

Cal. Civ. Code § 1624 (b)(2).

      Section 1624(b) does not apply here because the alleged agreement is not

between two parties that are “other than a natural person.” Szanto is a natural

person, so this Section cannot apply. Moreover, the alleged agreement to modify

the HELOC loan agreement does not fall under any of the types of contracts that

are governed by this Section.    Where, as here, the California Legislature has

provided a statutory definition, that definition controls. Adoption of Kelsey S., 1

Cal.4th 816, 826 (1992) (“If the Legislature has provided an express [statutory]

definition, we must take it as we find it.”) Therefore, this Court should disregard

Szanto’s argument regarding Section 1624(b).

      4.    California Civil Code Section 1698(c) Does Not Apply.
      California Civil Code Section 1698 provides:

            (a) A contract in writing may be modified by a contract
            in writing.


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             (b) A contract in writing may be modified by an oral
             agreement to the extent that the oral agreement is
             executed by the parties.

             (c) Unless the contract otherwise expressly provides, a
             contract in writing may be modified by an oral agreement
             supported by new consideration. The statute of frauds
             (Section 1624) is required to be satisfied if the contract as
             modified is within its provisions.

      It is well established “that a supplemental agreement either adding to or

varying the terms of the original contract, so as to impose new and onerous

burdens upon one of the parties, requires a consideration to support it.” Krobitzsch

v. Middleton, 72 Cal.App.2d 804, 808 (1946). An obligation already owed by the

promisee to the promisor is not consideration. See, e.g., Dole Food Co., Inc. v.

Superior Court, 242 Cal.App.4th 894, 911(2015)           (“It is hornbook law that

‘[d]oing or promising to do what one already is legally bound to do cannot be

consideration for a promise.’”)

      It is apparent from the language of the statute that any modification of the

HELOC loan was required to be in writing because the HELOC loan agreement

was in writing and because it was subject to the statute of frauds. Cal. Civ. Code §

1698(a-b).

      In his AOB, Szanto asserts that the alleged modification of the HELOC loan

was governed by Section 1698(c) because he claims that “the new consideration

was the payoff of all arrearages at a time when appellant did not have to pay


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because he was protected from further collection by the soon to take effect

Bankruptcy stay, consideration was also the abandonment of poor collection

practice claims, as well as the reciprocal consideration for debtor’s expenses from

Bank of America.” (AOB, p. 8). As stated above, the payment of money already

owed cannot serve as new consideration. Here, Szanto paid the amount due and

owing to bring the loan current and so the payment is not consideration under

Section 1698(c).        Additionally, although Szanto asserts that there was an

agreement that he would abandon his debt collection claims in exchange for the

change to the payment terms, there is simply no evidence of this in the writings

identified by Szanto.

      5.      The Declaration of Bank of America’s Counsel Was Submitted
              For The Purpose Of Authenticating The Attached Documents.
      “Declarations by attorneys are sufficient [for summary judgment purposes]

only if the facts stated are matters of which the attorney has knowledge, such as

matters occurring during the course of the lawsuit, such as authenticity of a

deposition transcript.” Clark v. Cty. of Tulare, 755 F. Supp. 2d 1075, 1084 (E.D.

Cal. 2010).    Documentary evidence must be properly authenticated for use in a

motion for summary judgment. Hal Roach Studios, Inc. v. Richard Feiner & Co.,

Inc., 896 F.2d 1542, 1555 (9th Cir. 1990).

      “By failing to object to evidence at trial and request a ruling on such an

objection, a party waives the right to raise admissibility issues on appeal.”


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Marbled Murrelet v. Babbitt, 83 F.3d 1060, 1066 (9th Cir. 1996), as amended on

denial of reh'g (June 26, 1996); United States v. Wen-Bing Soong, 650 F. App'x

425, 428, n.1 (9th Cir. 2016) (“For the first time on appeal, the parties raise the

competency and reliability of certain declarations submitted in the district court.

Because neither party raised these evidentiary objections in the district court, we

deem them waived.”). “A party challenging the admission of evidence must timely

object and state the specific grounds for his objection.” United States v. Gomez-

Norena, 908 F.2d 497, 500 (9th Cir. 1990).

      In his AOB, Szanto asserts that the Bankruptcy Court erred in relying on

counsel’s declaration because “statements of counsel are not evidence.” (AOB, p.

10). He specifies, “in reading the trial court’s opinion, this Court should observe

the reliance the trial judge attaches to the declaration of Bank of America’s

counsel.” (Id.) The Declaration to which Szanto is referring is the Declaration of

James Laurick submitted to authenticate certain documents referenced in the

motion for summary judgment. (EOR, pp. 181-184). Szanto did not object to the

admission of this Declaration or the documents attached to it in the Bankruptcy

Court; therefore, he has waived any objections as to admissibility.

      The documents attached to the Declaration are:            (1) the HELOC loan

agreement that was presented to the court nearly a year earlier as an exhibit to the

declaration in support of the original motion to dismiss; (2) Plaintiff’s Response to



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BANA’s First Set of Interrogatories; (3) Plaintiff’s Response to BANA’s Request

For Documents; and (4) selected portions of the Second Amended Complaint in

the underlying action. (EOR, pp. 185-239). All of the statements that are made in

the declaration refer to documents that were exchanged or filed in the course of the

case. (EOR, pp. 181-184). Thus, these documents were properly authenticated by

the Declaration. Szanto does not identify any particular statement or document

that he finds objectionable in his brief. Therefore, this Court should find that the

Bankruptcy Court could rely on the documentary declaration.

      6.    Szanto Cannot Allege A Claim For Promissory Estoppel.
      In his AOB, Szanto claims that “[a]nother manner in which to bind Bank of

America to its promise to appellant’s payment protocol as interest only is through

the doctrine of promissory estoppel.” (AOB, pp. 16-18). Szanto did not assert a

claim for promissory estoppel at the Bankruptcy Court, nor did he request leave to

amend on appeal. However, there is no abuse of discretion in denying leave to

amend because any amendment would be futile.

      Under California law, “[t]he elements of a promissory estoppel claim are (1)

a promise clear and unambiguous in its terms; (2) reliance by the party to whom

the promise is made; (3) [the] reliance must be both reasonable and foreseeable;

and (4) the party asserting the estoppel must be injured by his reliance.” US

Ecology, Inc. v. State, 129 Cal.App.4th 887, 901-902 (2005) (internal citations



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omitted; alteration in original).     An appellant must allege significant reliance to

support a promissory estoppel claim. Raedeke v. Gibraltar Sav. & Loan Assn., 10

Cal.3d 665, 673 (1974).

      First, as discussed earlier, there is no evidence of a clear and unambiguous

promise. Second, regarding alleged promises of loan modification, substantial

reliance requires action such as conversion of a bankruptcy filing or obtaining a

bridge loan. See Aceves v. U.S. Bank, N.A., 192 Cal.App.4th 218, 226 (2011); see

also Garcia v. World Sav., FSB 183 Cal.App.4th 1031, 1040-1041 (2010). Indeed,

California courts have noted, mere “hopeful expectations cannot be equated with

the necessary justifiable reliance.” Kruse v. Bank of America, 202 Cal.App.3d 38,

55 (1988). “Merely submitting a modification application or making payments to

the beneficiary or servicer, however, is insufficient to establish the required

detrimental reliance, because plaintiff was already legally obligated to make

payments under the loan.” Ortiz v. Am.'s Servicing Co., No. EDCV 12–191 CAS,

2012 WL 2160953, at *7 (C.D. Cal. June 11, 2012); see also Griffin v. Green Tree

Servicing, LLC, 166 F.Supp.3d 1030, 1046 (C.D. Cal. 2015) (Where plaintiff was

already obligated to make larger payment on her loan, “the fact that she remitted

three reduced payments…is not a legally cognizable form of injury” sufficient to

state a cause of action for promissory estoppel); De La Cruz v. Citi Mortg. Inc.,

No. 1:12–cv–0141–AWI–BAM, 2012 WL 487004, at *3 (E.D. Cal. Feb. 14, 2012)



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(“Further, plaintiffs do not allege sufficient reliance on the new representation, in

that plaintiffs already were bound contractually to make loan payments.”);

Newgent v. Wells Fargo Bank, N.A., No. 09cv1525 WQH (WMC), 2010 WL

761236, at *7 (S.D. Cal. Mar. 2, 2010) (“First, Plaintiff alleges that she made a

payment that she would not have made if she did not believe Wells Fargo was

renegotiating her mortgage. Because Plaintiff was already legally obligated to

make payments on her mortgage, the Court concludes that the payment in reliance

on the promise that Wells Fargo would delay the trustee's sale was not

detrimental.”).

      Szanto makes no argument in the AOB that he can amend his SAC to state a

claim for promissory estoppel, nor does he seek leave to do so. Therefore, the

issue has been waived. Steinle v. City and County of San Francisco, 919 F.3d

1154, 1167 (9th Cir. 2019).          Moreover, because he previously had two

opportunities to amend, this Court should determine that leave to amend would be

futile and affirm the Bankruptcy Court’s judgment. See Albrecht v. Lund, 845

F.2d 193, 195 (9th Cir. 1988) (“if a complaint is dismissed for failure to state a

claim upon which relief can be granted, leave to amend may be denied, even if

prior to a responsive pleading, if amendment of the complaint would be futile”);

Dougherty v. City of Covina, 654 F.3d 892, 901 (9th Cir. 2011) (complaint

properly dismissed without leave to amend where plaintiff failed to state a claim



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and plaintiff failed to identify facts that would have cured the defect); Novak v.

United States, 795 F.3d 1012, 1020 (9th Cir. 2015) (“the ‘general rule that parties

are allowed to amend their pleadings…does not extend to cases in which any

amendment would be an exercise in futility…Futility alone can justify a court's

refusal to grant leave to amend.’”)

      In this case, Szanto could not state a claim for promissory estoppel and any

attempt to do so would be futile.

                               VIII. CONCLUSION
      In light of the above, this Court should affirm the Bankruptcy Court’s grant

of summary judgment in favor of Bank of America.

Dated: June 8, 2020.


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                      CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limitation of Fed. R. Bankr. P.

8015(a)(7)(B) or 8016(d)(2) because this brief contains 6,232 words, excluding the

parts of the brief exempted by Rule 8015(a)(7)(B)(iii) or 8016(d)(2)(D).


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                        CERTIFICATE OF SERVICE
      I certify that on this 8th day of June, 2020, the foregoing ANSWERING

BRIEF BY APPELLEE BANK OF AMERICA, N.A. TO DEBTOR’S FIRST

OPENING BRIEF will be served in accordance with the Court’s CM/ECF system

which will send notification of such filing by notice via email to the ECF

participants of record a true copy of the foregoing document.

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